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 3   Telephone: (650) 638-2380
     Fax: (650) 712-8377
 4
     Attorney for: Defendant-Appellant Frederick Thomas
 5

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 7

 8                                UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
10

11
                                                     )
12   UNITED STATES OF AMERICA,                       )   No. 2:12-CR-00004-027-APG-GWF
                                                     )
13          Plaintiff-Appellee,                      )   (1) CORRECTED, UNOPPOSED MOTION
                                                     )
14          vs.                                      )   TO UNSEAL AND PROVIDE COPIES OF
                                                     )   BAIL REPORT(S) FOR USE IN PENDING
15   FREDERICK THOMAS,                               )   APPEAL;
                                                     )
16          Defendant-Appellant.                     )   AND
                                                     )
17                                                   )
                                                     )   (2) [PROPOSED] ORDER RE SAME
18                                                   )
19
            I, Mark D. Eibert, declare as follows:
20
            1. I am the appointed counsel of record under the Criminal Justice Act for Mr. Frederick
21
     Thomas in the direct Ninth Circuit appeal (No. 15-10000) of the Judgment and sentence in the
22
     above case.
23
            2. I expect to file a motion for release pending appeal in the Ninth Circuit.
24
            3. In order to fully inform the Ninth Circuit of many of the relevant facts, I need to
25
     submit to the Ninth Circuit the bail report(s) that were submitted to this Court on or about March
26
     21, 2012. At that time, Pretrial Services Officer Jaime Stroup wrote a bail report addressed to
27
     the Honorable Magistrate Judge Carl W. Hoffman, attaching a bail report from the Middle
28
     District of Florida. Pretrial Services recommended releasing Mr. Thomas on his own

                     UNOPPOSED MOTION TO UNSEAL DOCUMENTS AND [PROPOSED] ORDER,
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 1   recognizance, and the Court did so. Mr. Thomas remained free on his own recognizance for
 2   years, even after sentencing, and timely self-surrendered to serve his prison sentence. However,
 3   on March 18, 2015, this Court denied a motion by prior counsel for bond pending appeal.
 4   Docket # 948. Undersigned counsel wishes to ask the Ninth Circuit to make its own
 5   determination on this issue as permitted under Federal Rule of Appellate Procedure 9(b) and (c)
 6   and Ninth Circuit Rule 9-1.2.
 7          4. With the permission of Pretrial Services Officer Erin Oliver, undersigned counsel
 8   reviewed the bail report(s) at his local Pretrial Services Office. Ms. Oliver indicated, however,
 9   that in order to provide me with a copy to present to the Ninth Circuit along with my motion for
10   release pending appeal, I would need an Order from this Court.
11          5. Counsel intends to use this bail report solely for purposes of a motion for release
12   pending appeal in the Ninth Circuit, and to file it under seal in the Ninth Circuit.
13          6. Opposing counsel, AUSA Elizabeth Olson White, Esq., has graciously stated that she
14   does not oppose this motion.
15          7. A proposed Order containing the restrictions set forth above is below this motion.
16           8. For the foregoing reasons, undersigned counsel respectfully requests that this Court
17   enter the proposed order attached below unsealing these documents and providing copies to
18   counsel for both parties for use in a motion directed to the Ninth Circuit for release pending
19   appeal only.
20          I declare under penalty of perjury under the laws of the United States that the foregoing is
21   true and correct to the best of my knowledge and belief. Executed at Half Moon Bay, California
22   on October 21, 2015.
23                                                 Respectfully submitted,
24                                                 /s/ Mark D. Eibert
25
                                                   Mark D. Eibert
26
                                                   Attorney for Defendant-Appellant
27
                                                   FREDERICK THOMAS

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 1                                                     ORDER
 2
           IT IS SO ORDERED:
 3
           1. The bail report submitted to the Court on or about March 21, 2012 in this case,
 4
     including the bail report from the Middle District of Florida which was attached thereto, shall be
 5
     unsealed and Pretrial Services shall provide copies to counsel for both parties only.
 6
             2. Dissemination of the documents described above shall be limited to counsel for the
 7
     parties in this case and their staffs and the defendant and solely for the purpose of litigating any
 8
     motion for release pending appeal in the Ninth Circuit in Appeal No. 15-10000. Dissemination
 9
     to anyone else for any other purpose is prohibited.
10
           3. Should counsel for either party wish to file any or all of the above documents in the
11
     Ninth Circuit, they shall be filed under seal with the permission of that Court.
12
            IT IS SO ORDERED.
13
                    22 2015
     Dated: October ___,                                   ____________________________
14
                                                           HON. ANDREW
                                                           GEORGE     FOLEY,P. GORDON
                                                                               JR.
15                                                         United States
                                                           United StatesDistrict JudgeJudge
                                                                         Magistrate
16

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 1                                   CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that he served a copy of this document on Plaintiff’s
 3   counsel, via electronic service through the PACER system on October 21, 2015.
 4                                         /s/ Mark D. Eibert
 5                                         Mark D. Eibert
                                           Attorney for Defendant-Appellant
 6
                                           Frederick Thomas
 7

 8                                  PROOF OF SERVICE BY MAIL

 9          The undersigned hereby certifies that his business mailing address is P. O. Box 1126,

10   Half Moon Bay, CA 94019, that he is not a party to this action, that he is a citizen of the United

11   States of such age and discretion to be competent to serve papers, and that on the below date he

12   caused copies of

13   UNOPPOSED MOTION TO UNSEAL AND [PROPOSED] ORDER RE SAME
14
     To be served by both U.S. Mail, postage pre-paid, and e-mail, to:
15
     Elizabeth Olson White, Esquire
16   Assistant U.S. Attorney
     OFFICE OF THE U.S. ATTORNEY
17
     Suite 600
18   100 West Liberty Street
     Reno, NV 89501
19
     E-mail: Elizabeth.O.White@usdoj.gov
20
           I declare under penalty of perjury that the foregoing is true and correct. Executed on
21
     October 21, 2015 at Half Moon Bay, California.
22

23
                                           /s/ Mark D. Eibert
24
                                           Mark D. Eibert
25                                         Attorney for Defendant-Appellant

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